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MARY JANE SOULE
Plaintiff

Versus

RSC EQUIPMENT, INC.

Defendant

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
CIVIL ACTION
No: 11-cv-02022, SECTION: “E”

JUDGE: Susie Morgan

* * * *€ *F F iF

MAGISTRATE: Daniel E. Knowles, III

MOTION FOR LEAVE TO FILE UNDER SEAL

NOW INTO COURT, through undersigned counsel, comes Mary Jane Soule, who moves

this Honorable Court for leave to file Motion to Compel More Complete Answers to Plaintiff's

Second Interrogatories Propounded on March 16, 2012, and for Sanctions. Under the protective order

[doc. # 110], documents produced in discovery as “Confidential” are to be filed under seal when

disclosed to this Court. Documents so designated are attached to the Motion to Compel More

Complete Answers to Plaintiff's Second Interrogatories Propounded on March 16, 2012, and for

Sanctions. Therefore, pursuant to the protective order, the Motion must be filed under seal.

Respectfully submitted,

LOWE STEIN HOFFMAN,
Vicnenut re eat. R, LLP

 

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CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing pleading has been filed under seal with the

Court and a copy of the foregoing has been served on all counsel of record to this proceeding via

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MARYNELL L. PIGLIA

email on this 22"! day of June, 2012.
